          Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 1 of 7



             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA and                  )
DR. RACHEL TUDOR,                             )
                                              )
                     Plaintiffs,              )
                                              )
v.                                            )   Case No. CIV-15-324-C
                                              )
SOUTHEASTERN OKLAHOMA                         )
STATE UNIVERSITY and                          )
THE REGIONAL UNIVERSITY                       )
SYSTEM OF OKLAHOMA,                           )
                                              )
                     Defendants.              )

                      MEMORANDUM OPINION AND ORDER

       Plaintiff United States brought the present action to enforce Title VII claims against

Defendants based on Defendants’ actions towards Plaintiff Dr. Tudor, alleging sex

discrimination and retaliation in violation of Title VII. Dr. Tudor then filed a Complaint in

Intervention adding a claim for hostile work environment. The premise for each Plaintiff’s

claims are the alleged actions by Defendants directed at Dr. Tudor following her transition

from male to female. Specific to the issues relevant to the present Motion, Dr. Tudor alleges

that at the time she announced her intent to change gender Defendants began treating her

differently, ultimately denying her tenure application. Dr. Tudor’s Complaint also offers

details of a number of other actions taken by Defendants, all allegedly the result of her

change in gender.
           Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 2 of 7



       Defendants filed a Motion to Dismiss Dr. Tudor’s Intervenor Complaint seeking

dismissal of Dr. Tudor’s hostile environment claim pursuant to either Fed. R. Civ. P.

12(b)(1) or 12(b)(6). Defendants’ 12(b)(1) Motion argues the Court lacks subject-matter

jurisdiction to hear Dr. Tudor’s hostile work environment claim because she failed to exhaust

her administrative remedies. The 12(b)(6) Motion argues that Dr. Tudor has failed to state

a claim for relief, as the factual allegations in her Complaint are insufficient to state a claim

for hostile work environment. Because the 12(b)(1) Motion attacks the Court’s power to

decide this case, it will be addressed first.

1. Exhaustion

       Defendants do not deny that Dr. Tudor filed a charge with the EEOC, they simply

argue that the statement provided by Dr. Tudor to the EEOC was insufficient to notify them

that she was pursuing a hostile work environment claim. Initially the Court notes that the

exhibits upon which Defendants rely to argue Dr. Tudor did not exhaust are not documents

prepared by Dr. Tudor, but rather the documents were prepared by the U.S. Department of

Education. Thus, they are not helpful in determining the nature of the claims that Dr. Tudor

exhausted. Rather, the Court will consider the statements made by Dr. Tudor when filing her

complaint with the EEOC.*




       *
         As Defendants note, the Court may consider these documents in ruling on the exhaustion
challenge without converting the present Motion to one seeking summary judgment. See Jenkins
v. Educ. Credit Mgmt. Corp., 212 F. App’x 729, 732-33 (10th Cir. 2007).

                                                2
           Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 3 of 7



       The Supreme Court has held that Title VII does not specify the form or content of

filings, providing only that charges shall be made in writing under oath or affirmation. See

E.E.O.C. v. Shell Oil Co., 466 U.S. 54, 67 (1984). The EEOC is responsible for establishing

the detailed requirements for inadequate filings. In that regard, the EEOC has established

a regulation which provides “a charge is sufficient when the Commission receives from the

person making the charge a written statement sufficiently precise to identify the parties, and

to describe generally the action or practices complained of.” 29 C.F.R. § 1601.12(b). The

Tenth Circuit has held that “‘[w]e are required to construe appellants’ EEOC charges with

utmost liberality since they are made by those unschooled in the technicalities of formal

pleading.’” Green v. Donahoe, 760 F.3d 1135, 1142 (10th Cir. 2014) (quoting Lyons v.

England, 307 F.3d 1092, 1104 (9th Cir. 2002), cert. denied, ___ U.S. ___, 135 S. Ct. 1892

(2015)). Finally, “[a] plaintiff's claim in federal court is generally limited by the scope of the

administrative investigation that can reasonably be expected to follow the charge of

discrimination submitted to the EEOC.” MacKenzie v. City and County of Denver, 414 F.3d

1266, 1274 (10th Cir. 2005) (citations omitted).

       The Court finds that when measured by these standards, the complaint filed by Dr.

Tudor with the EEOC was sufficient to exhaust a hostile environment claim. First, the letter

Dr. Tudor sent to the EEOC provides adequate explanation that at least one of the issues on

which her claims were based was her transition in gender and Defendants’ employees’

reaction to that change. The EEOC Charge of Discrimination signed by Dr. Tudor makes

clear that employees of Defendants communicated her gender transition to members of the

                                                3
             Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 4 of 7



administration who reacted negatively, and as a result she was subject to different terms and

conditions of employment. These statements were sufficient to put Defendants on notice that

Dr. Tudor was pursuing a hostile work environment claim, in addition to the other claims

pursued in this case. Therefore, Defendants’ Motion to Dismiss for failure to exhaust will

be denied.

2. Hostile Environment Claim

       Defendants challenge whether or not Dr. Tudor has pled facts to support a hostile

work environment claim. “The elements of a hostile work environment claim are: (1) the

plaintiff is a member of a protected group; (2) the plaintiff was subjected to unwelcome

harassment; (3) the harassment was based on the protected characteristic . . . ; and (4) the

harassment was sufficiently severe or pervasive to alter a term, condition, or privilege of the

plaintiff’s employment and created an abusive working environment.” Asebedo v. Kan.

State. Univ., 559 F. App’x 668, 670 (10th Cir. 2014) (citing Dick v. Phone Directories Co.,

397 F.3d 1256, 1262-63 (10th Cir. 2005)).

       Defendants argue Dr. Tudor fails at the first step because she cannot establish she is

a member of a protected class. According to Defendants, in Etsitty v. Utah Transit Auth.,

502 F.3d 1215 (10th Cir. 2007), the Tenth Circuit held a transsexual individual is not within

a protected class. However, the reasoning relied on by the Tenth Circuit in Etsitty is

inapposite here. The Tenth Circuit’s holding was that “transsexuals may not claim protection

under Title VII from discrimination based solely on their status as a transsexual.” Id. at

1222. The Circuit went on to clarify that “like all other employees, such protection extends

                                              4
           Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 5 of 7



to transsexual employees only if they are discriminated against because they are male or

because they are female.” Here, it is clear that Defendants’ actions as alleged by Dr. Tudor

occurred because she was female, yet Defendants regarded her as male. Thus, the actions

Dr. Tudor alleges Defendants took against her were based upon their dislike of her presented

gender. The Tenth Circuit recognized this distinction in Etsitty at n.2, when it cited to the

Sixth Circuit case of Smith v. City of Salem, 378 F.3d 566, 575 (6th Cir. 2004) (“Sex

stereotyping based on a person’s gender non-conforming behavior is impermissible

discrimination, irrespective of the cause of that behavior; a label, such as ‘transsexual,’ is not

fatal to a sex discrimination claim where the victim has suffered discrimination because of

his or her gender non-conformity.”). The factual allegations raised by Dr. Tudor bring her

claims squarely within the Sixth Circuit’s reasoning as adopted by the Tenth Circuit in

Etsitty. Consequently, the Court finds that the discrimination occurred because of Dr.

Tudor’s gender, and she falls within a protected class. The first element is adequately pled.

       The remainder of Defendants’ challenge to the hostile work environment claim argues

that Dr. Tudor has failed to plead sufficient facts to raise her claim above the speculative

level. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Defendants read Dr.

Tudor’s Complaint too narrowly. When taken as a whole, it is clear that the factual

allegations set forth by Dr. Tudor demonstrate that she was subjected to unwelcome

harassment based on the protected characteristic and that the harassment by Defendants’

employees was sufficiently severe or pervasive to alter a term, condition, or privilege of her

employment and thereby create an abusive work environment. Accordingly, the Court finds

                                                5
           Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 6 of 7



that Defendants’ Motion to Dismiss for failure to state claim on the hostile work environment

claim will be denied.

 3. Laches

       Finally, Defendants argue that the Complaint should be dismissed based on the

doctrine of laches. According to Defendants, much of the conduct of which Dr. Tudor

complains occurred as much as four or five years prior to filing her Complaint. Defendants

argue that the delay has prejudiced them because of the lapse of time. In order to establish

laches, Defendants must demonstrate (a) inexcusable delay in instituting a suit and

(b) prejudice or harm to Defendants flowing from that delay. Alexander v. Phillips

Petroleum Co., 130 F.2d 593, 605 (10th Cir. 1942).

       Defendants’ argument fails on both elements. First, as Dr. Tudor establishes in her

Response, she began the administrative process shortly after Defendants’ allegedly

discriminatory actions. That there was some delay in the lawsuit being filed was primarily

as a result of the administrative process and the actions of the EEOC in determining whether

or not to pursue the claim on behalf of the United States, rather than anything attributable to

Dr. Tudor. Dr. Tudor has acted timely in pursuing her administrative remedy and acted

timely in filing her Complaint in Intervention once this action was initiated by the United

States. In short, Defendants have failed to meet their burden of establishing that the doctrine

of laches should apply.

                                     CONCLUSION



                                              6
           Case 5:15-cv-00324-C Document 34 Filed 07/10/15 Page 7 of 7



       For the reasons set forth herein, Defendants Southeastern Oklahoma State University

and The Regional University System of Oklahoma’s Amended Motion to Dismiss

Plaintiff/Intervenor’s Complaint in Part (Dkt. No. 30) is DENIED. Defendants Southeastern

Oklahoma State University and The Regional University System of Oklahoma’s Motion to

Dismiss Plaintiff/Intervenor’s Complaint in Part (Dkt. No. 27) is STRICKEN as it was

inadvertently filed.

       IT IS SO ORDERED this 10th day of July, 2015.




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